          Case 2:21-bk-16674-ER                        Doc 415 Filed 10/21/22 Entered 10/21/22 16:42:11                                           Desc
                                                        Main Document     Page 1 of 4
 Attorney or Professional Name, Address, Telephone and
                                            FAX
  Damian J. Martinez SBN 200159 / Michael C. Mauceri SBN 311220
  Ivy Gao SBN 312267
  ATKINSON, ANDELSON, LOYA, RUUD & ROMO
  201 S. Lake Avenue, Suite 300
  Pasadena, California 91101-4869
  Telephone: (626) 583-8600
  Fax: (626) 583-8610


                        UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA

 In re:                                                                                                      Chapter 11 Case Number
 Jinzheng Group (USA) LLC                                                                                    2:21-BK-16674-ER (Lead Case)

                                                                                                             Professional Fee Statement

                                                                                                             Number: 2
                                                                                                             Month of: September                 , 2022
                                                                                                    Debtor



1. Name of Professional:                                                                            Atkinson, Andelson, Loya, Ruud & Romo
2. Date of entry of order approving employment of the professional:                                 July 7, 2022
3. Total amount of pre-petition payments received by the professional:                              $
4. Less: Total amount of pre-petition services rendered and expenses:                                -
5. Balance of funds remaining on date of filing of petition:                                        $ 80,000.00
6. Less: Total amount of all services rendered per prior fee statements: (Line 6 is not used when
filing Statement Number 1).                                                                          - 22,787.50

7. Less: Total amount of services and expenses this reporting period:                                - $36,262.79
8. Balance of funds remaining for next reporting period:                                            $ 20,949.71


DETAILED DOCUMENTATION SUPPORTING THE PROFESSIONAL FEES EARNED AND THE EXPENSES INCURRED
DURING THIS REPORTING PERIOD HAS BEEN SERVED ON THE UNITED STATES TRUSTEE. A COPY OF THE
DETAILED DOCUMENTATION WILL BE PROVIDED BY THE PROFESSIONAL TO ANY PARTY UPON REQUEST. FEES
AND COSTS WILL BE WITHDRAWN FROM THE TRUST ACCOUNT IN THE AMOUNT STATED IN ITEM 7 ABOVE
UNLESS AN OBJECTION IS FILED WITH THE CLERK OF THE COURT AND SERVED ON THE PROFESSIONAL NAMED
ABOVE WITHIN 10 DAYS FROM THE DATE OF SERVICE OF THIS STATEMENT.

9. Total number of pages attached hereto:                                                           20

The above is a true and correct statement of fees earned and expenses incurred during the indicated reporting period.

Dated: October 21, 2022
Damian J. Martinez                                                                            /s/ Damian J. Martinez
Type Name of Professional                                                                     Signature of Professional



Type Name of Attorney for Professional (if applicable)                                        Signature of Attorney for Professional (if applicable)

Revised September 2012                          PROFESSIONAL FEE STATEMENT (Page 1 of 2)                                                               USTR16-6.0
                                                                                                                                      American LegalNet, Inc.
                                                                                                                                      www.FormsWorkFlow.com
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
201 S. Lake Avenue, Suite 300, Pasadena, California 91101.


A true and correct copy of the foregoing document entitled (specify): PROFESSIONAL FEE STATEMENT (NO. 2)



will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 21, 2022 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) October 21, 2022 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

October 21, 2022               Julissa Ruiz                                                    /s/ Julissa Ruiz
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                        ADDITIONAL SERVICE INFORMATION

1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

•      Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
•      • Steven P Chang schang@spclawoffice.com,assistant1@spclawoffice.com,
attorney@spclawoffice.com; g9806@notify.cincompass.com;changsr75251@notify.bestcase.com
•      • Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
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assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com
•      • Susan Titus Collins scollins@counsel.lacounty.gov
•      • Nicholas S Couchot ncouchot@buchalter.com,
docket@buchalter.com;marias@buchalter.com
•      • Jeffrey W Dulberg jdulberg@pszjlaw.com
•      • Oscar Estrada oestrada@ttc.lacounty.gov
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•      • John N Tedford jtedford@DanningGill.com,
danninggill@gmail.com;jtedford@ecf.courtdrive.com
•      • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
•      • Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov


2. SERVED BY UNITED STATES MAIL:

JINZHENG GROUP (USA) LLC                                     Office of the U.S. Trustee
1414 S Azusa Ave, Suite B-22                                 915 Wilshire Boulevard, Suite
West Covina, CA 91791-4084                                   1850
                                                             Los Angeles, CA 90017


                  COMMITTEE OF CREDITORS HOLDING UNSECURED CLAIMS

Bentula Lenta, Inc.                                 The Phalanx Group, Inc.                             Testa Capital Group
David Park                                          Anthony Rodriguez                                   620 Newport Center Dr.,
800 W. 6th Street, Suite                            424 E. 15th Street, Unit #10                        #1100
1250                                                Los Angeles, CA 90015                               Newport Beach, CA 92660
Los Angeles, CA 900171




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